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                 IN THE DISTRICT COURT OF THE VIRGIN ISLANDS
                                  DrvrstoN oF sr. cRotx


ST. CROIX RENAISSANCE GROUP, LLLP; )
BROWNFIELD RECOVERYCORP. and       )
ENERGYANSWERS CORPORATION OF )
PUERTO RICO,                                    )      crvtL No. 2004/67
                               Plaintiffs,      )
       v.
                                                       ACTION FOR DAMAGES
ST. CROIX ALUMINA, LLC and ALCOA
WORLD ALUMINA, LLC,

                               Defendants.


               PLAINTIFF SCRG'S MEMORANDUM IN SUPPORT
      OF ITS MOTION REGARDING THE MATTER OF CLAIMS OF PRIVILEGE
      AS TO DOCUMENTS IN THE POSSESSION OF, OR TRANSMITTED TO
                          GARVER ENGINEERING



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                                       June 19. 2009
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L lntroduction

       Originally, there were some 328 documents, in two groups, to which this motion

applies. After the Court ordered the documents to be produced for in camera inspection, 46

of these documents-clearly not privileged-were prod uced.

       1. Documents which were      in   Garuer's possesslon. Garver Engineering is      a   key

witness. Garver was to bring documents responsive to a duces fecum request to the
depositions of its Rule 30(bX6) representative Earl Mott, as well as its St. Croix project

director and liaison with Defendants, Marvin Dalla Rosa. Garver assembled the responsive

documents, but then turned them over to Alcoa's counsel. On the day of those depositions,

plaintiffs (SCRG) were informed that Alcoa would keep more than 200               of   Garver's

documents. Garver and Defendants then refused            to   produce the documents. Later,

Defendants (Alcoa) served a log entitled "Garver Privilege Log", separate from their own.

       2. Documents ¡n Alcoa's possesslon. ln addition, there are a smaller number of

additional documents in Alcoa's possession that had been sent or cop¡ed to Garver

employees, for which Alcoa independently claims privilege. These have not been produced

either, and are on Alcoa's separate privilege log.

       References are to the Joint Statement of Facts (SOF) and Plaintiff's Exhibits (PEx).

ll, Garver's Understanding of its lnvolvement in this Matter

       Garver is a field engineering company. SOF    L   Garver did not understand itself to be

(nor was it) "on the litigation team", or an agent in any sort of privileged relationship with

Alcoa's counsel or Alcoa itself. Garver's St. Croix Project Director was Marvin Dalla Rosa.

Garver's 30(bX6) representative (Mott) testified that Dalla Rosa was the person with the

most knowledge of Garver's St. Croix involvement with Alcoa, the person who handled the

contracts with Alcoa and the relationship manager for Garver with regard to the facility.

Deposition of Garver's 30(b)(6) representative, Mott at (v.2) 22:4-23:19, (v.1) 34:13-35:2.
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PEx   l.   Dalla Rosa's testimony regarding Garver's understanding of its role in relation to

Alcoa was clear.

       Q. When you were working for Garver, what was the nature of the relationship
    between Garver and Alcoa?
       A. I believe we had worked for them for several years. Primarily, I believe, on the
    bauxite residue reclamation project out in the Benton/Bauxite area.
       Q. Would you characterize the relationship between Garver and Alcoa as typical of
    the relationships that Garver had with all of ¡ts clients?
       A. Typical in what way?
       Q. Well, did you have some sort of a special relationship with Alcoa?
       A. I think we had a good working relat¡onship with them. I don't know that we had a
    special relationship with them.
       Q. Well, when I say special, I mean contractually special. Was there something in
                                                                             -
    the agreement, the contractual agreements that you had with Gar- with Alcoa that
    was somehow atypical from the contracts that you had with your other clients?
       A. Not that I'm aware of . Deposition of Marvin Dalla Rosa at83:2-21. PEx2
The project manager could remember no confidentiality provision in any of the several

contracts, nor was one ever produced. There were no discussions cautioning confidentiality.

      Q. Did you have a confidentiality provision in your contracts with Alcoa?
       A. I - not in a -- I don't know. lwould have to look at their - I haven't looked at their
    contract documents in several years. I don't remember.
      Q. Were you ever cautioned that the relationship between Garver and Alcoa was a
    conf¡dent¡al one?
      A. No. ld. at83:22-84:13.
There were never any instructions to Garver, or even a particular conversation about

keeping communications with Alcoa confidential:

         Q. So you were never told, [']Well, the information you get from Alcoa about a
   particular project is something that you can't discuss with anybody else?[']
      A. Not in particular that I'm aware of, no.
      Q. Were you ever told that any particular conversations that you had with Alcoa
   personnel were confidential and that you should keep them to yourself and you couldn't
   disclose them to other people?
       A. Not in particular, no. ld. at 84:5-13.
Nor did he even know Alcoa's primary project counsel

         Q. Do you know who Mark Ross is?
         A. No. I have not met Mark Ross.
         Q. Have you -
         A. I don't believe so. I don't think I've - I do not know him.
         Q. Have you ever had any communications in which Mark Ross was a participant?
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          A. I don't know. I don't know if he was -- he might have been CC'd on an e-mail or a
       party in a teleconference, but I don't -- I mean, a conference call, but I don't believe l've
       - I don't know that l've ever personally met Mark.
          Q. And in any of those communications, conference calls, e-mails or othenruise in
       which Mr. Ross might have been participatory in, were you ever cautioned not to
       disclose anything about those communications?
          A. No, no. I can't recall that I ever had-l can't recall any that he was involved in [sic.]
       that I was. ld at 8:14-85:6.
So Garver's project director and Garver liaison, Dalla Rosa, knew of nothing of any such

expectations. ln fact, Garver's onlv testimony as to this alleged relat¡onsh¡p was much later

-- from Garver's 30(bX6) witness -- that communications copied to Garver sometimes bore a

legend that they were confidential and should not be shared. Deposition of Mott (v.2) 20:5-

20:1. PEx 1.1 Thus, from Garver's point of view, Alcoa had no expectation of confidentiality,

and the many invoices and contracts reflect no mention of any spec¡al relationship.

lll. Garver's Actual lnvolvement with Alcoa also Demonstrates an Absence
    of any Special Relationship or Expectation of Gonfidentiality

            The long history of what actually took place is entirely consistent with Garver's
understanding. From 2001 to date, Garver went through several sub-projects ¡n St. Croix            -
as different engineering needs arose      -   each equally prosaic, as d¡scussed below.

.           A. Ga¡ver's Initial Relationship to Alcoa: Re-Grading Engineers (1/01-6/02)
            Garver Engineering was originally hired as an engineering consultant by Alcoa for the

St. Croix project in early 2001. Garver was to develop a plan to regrade Bauxite Resdue

,Area   A ("BRDA-A).SOF 9. After initially submitting three alternatives, in mid-2001 Garver

supplied such a plan. Garver sent regular invoices to Alcoa, solely for eng¡neer¡ng work.

         While this grading was ongoing, on March 22,2002, Alcoa and the buyers entered

into    a   Purchase and Sales Agreement         (PSA). The closing was scheduled to           occur

thereafter. SOF 1. The regrading continued until sometime before closing in June o12002.



' Defendants' privilege log does not disclose which of the documents here bore that legend.
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           However, on Apr¡l 16,2002, a red mud discharge event into the Sea was discovered.

SOF    6. At some time between signing of the PSA and April 16th,       large amounts of red mud

and water flowed from BRDA-A, along a road, into the West Ditch, through the mangroves

and into the Sea. As a result, on April 17th, Alcoa's managers asked Garver to arrange to

have "engineering help arrive onsite to evaluate current stormwater systems and develop a

documented plan for inclusion in reports to regulatory agencies and to possible insurance

carr¡ers for the purchaser." PEx         3. (Emphasis added). There has been no        evidence

produced that Garver ever dealt with Alcoa's lawyers regarding this event.

           On April 17,2002, Alcoa sent an official not¡ce of this discharge event to the

Commissioner of the Virgin lslands Department of Planning and Natural Resources (DPNR).

The St. Croix facility's environmental official, Dr. Eric Black, represented that Alcoa was

investigating, and that there had been no prior, similar events:

           [Alcoa is] conducting an investigation into the probable cause of the reported
           event, as there have been no similar stormwater incidents prior to or apparently
           subsequent to this apparently one time event. PEx 4. (Emphasis added).

Representations of no s¡milar discharge events (made by Alcoa both then and later) are

critical in this matter. There is        a factual ¡ssue as to whether, as was continuously
maintained by Alcoa, this was a single such event         -   or whether there had been multiple

discharges over a long enough period of time that there was evidence of several cycles of

erosion and deposition. Alcoa stridently maintained (both then and in discovery) there was

no evidence of other such d¡scharge events. However, later in discovery, after several

denials, Alcoa supplied a contemporaneous document reflecting the opposite. An email

was produced five working days after the entry of this Court's Magistrate's relevant order.

           Marvin Dalla Rosa and one other Garver Engineer were at the facility on April 25-26,

2002. PEx      5. That internal   Alcoa email reveals that on April 29,2002, when returning from
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their trip   to St. Croix, these Garver     engineers called Alcoa's sen¡or environmental

troubleshooter for Alcoa's subsidiary, Alcoa World Alumina (AWA), Joe Norton. They told

him the story being given to the DPNR and buyers though "plausible" was inconsistent with

the evidence. Norton summarized Garver's directly opposite findings and conclusions in an

email to Larry Grace, Alcoa's lead negotiator for the sale of the property:

       I had an interesting conversation with the Garver folks on Saturday as they
       were returning from Stx. The¡r observations were that the spill did not occur in
       a one-time event. While that is a plausible explanation, it does not explain the
       observat¡ons regarding the current condition. ln fact, Marvin [Dalla Rosa]
       indicated that the erosion and deposition appeared to have been going on
       through several discharge events. PEx 6.

Notwithstanding this report of evidence of multiple releases, Alcoa never even hinted to the

regulators or buyers that Garver's engineers had found evidence directly conflicting with

Alcoa's "version" of one single release.2 A full disclosure then, of course, might have led to

the very inquiry which is now presented in this case: how could Alcoa's environmental

official, who was on the site for both Alcoa and the previous owners, possibly not know of

several unreported, outstanding violations of environmental laws?

      ln any event, Garver's role in this transaction was not privileged activity. There was

never any communication of this information by Garver (or even Alcoa officials) to or from

Alcoa's counsel. To the contrary, Norton sent the Garver findings to Larry Grace, the senior


'A   confidential, internal DPNR memo obtained thereafter relates that a DPNR expert did a
field study near the point where such a discharge event would enter the Sea, in September
of 2002. He discovered identical "layering" evidence of the multiple discharges with
depositions in between-just as Garver had in April 2002. Alcoa concurred with the DPNR
expert's conclusion then-of multiple discharge events over some period of time. PEx 7 at

      The red mud in the ditch had distinct layers separated by a white precipitate
      material. lt appeared that the red mud in the ditch had accumulated over some
      period of time during several depositional events. Alcoa concurred that due to
      the large amount of red mud in the ditch, it was unlikely that the total
      accumulation was deposited during the heavy rains of February-March 2002.
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Alcoa official dealing with the facility.3   /d.   Grace decided he would never inform SCRG or

regulators that Garver found evidence for and reached the "several events" conclusion:

           "[t]he content of this email does not conclude that there were multiple events.
           It talks about erosions and deoosition. . . .lt doesn't talk about what those
           were. . . There's no evidence, there's no report from Garver that says there
           were several discharge events. . . .Nothing was ever reported in this respect.
           I                 it
               didn't think was material." Deposition of Grace as 30(b)(6)
           representative for Alcoa at204:23 - 207:5. PEx 8. (Emphasis added.)

He is wrong of course, that is exacfly what the email says, it says: the physical evidence is

of "several discharge events". This non-disclosure was a decision at the managerial level.a

           Not only did Alcoa and Garver's managers not disclose this information, they did the

exact opposite. Writing as the engineers working on the property who had done the grading

plans; on May 9, 2002 (and again on June 11th) Garver sent a letter which was created to

be provided to SCRG and regulators. Garver's Marvin Dalla Rosa wrote of Garver's visit on

April 25-26, 2002, but did not mention one word about the conclusion as to "several

discharge events" or findings of cycles of "erosions and deposition". PEx         11.   Never in

repeated testimony, many court fil¡ngs or extensive correspondence did Alcoa or Garver

disclose this information or the fact that they were in possession of it prior to closing and the

DPNR's June 18, 2002 order (discussed below). To the contrary, Garver admitted that


3
 Joseph Norton, Larry Grace and Eric Black are all listed in the Section 8.3 of the PSA as
being yardsticks of Alcoa's "knowledge" with regard to these applicable warranties.
o   Moreover, neither Alcoa nor Garver ever informed their own environmental consultant
studying the discharge event (Biolmpact) of Garver's findings or conclusions. Biolmpact
testified that the report (submitted to regulators and SCRG) was made without the
knowledge that Garver had found scientific, engineering evidence for and reached the
conclusion of "several discharge events". Biolmpact (Dempsey) Deposition at 84:14 -
93:14. PEx 9. The "Biolmpact Report" submitted by Alcoa, was never corrected or
amended before being used by DPNR. As discussed below, this report formed a substantial
basis for the amendment to the PSA just a day before closing and almost all of the
regulatory activity thereafter. That report was almost the entire factual predicate for the
critical June 18,2002 DPNR Administrative Order at issue here. PEx 10.
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Alcoa participated in re-drafting th¡s letter (and others represented by Alcoa to be from the

engineers). Thus, Garver clearly understood      ¡t   was working for a regular business client.

         Q. Okay. So - and correct me if I'm wrong - what might appear to third parties to
       actually be letters from you to Alcoa would actually be in cases actually collaborative
       projects which were jointly drafted?
         A. ln some instances that would be correct.
         Q. Okay. And those would be in important situations, for instance, when you would
       be submitting materials to agencies or regulatory bodies?
         A. ïhat would be correct. Mott Deposition at (v.1) 34:13-40:2
       and 74:23-77-21 . PEx 1 .

ln this action, Plaintiffs contend this pattern of intentionally not disclosing and, rather, hiding

outstanding Clean Water Act and local environmental law violations is one of the acts

contrary to the warranties. There is no evidence of privileged communication regarding this

activity and, certainly, no lawyer to whom Garver's findings and conclusions had been

communicated would have allowed or participated in such testimony or submissions.

       B. Ga¡yer as Designers of the Remediation "Garuer PIan" (6/02 - 11/03)

       Referencing that Biolmpact Report, the parties signed           a letter amendment to the
March22,2002 PSA, the day before the June 14th closing. SOF 4-5, PEx12.

    6.2 Seller's Retained Liabilities. Seller has retained all liability for the following matters
    ("Seller's Retained Liabilities"):...

   (e) all liability arising out of that certain release of. . . .that certain release of red mud
   into the wetlands and the sea on or about March and April, 2002, as described in the
   Assessment of the Extent of the Red Mud Spill and lmpact Assessment prepared bv
   Biolmpact, lnc.. dated April 20, 2002 for the Seller (the "Red Mud Release"),.
   .including, but not limited to all corrective act¡on required by the U.S. Environmental
   Protection Agency, the Government of the Virgin lslands of the United States,
   Department of Planning and Natural Resources, Division of Environmental Protection
   and any other governmental body or agency having jurisdiction over this matter, in order
   to correct, clean up, minimize, mitigate or othen¡¡ise cure the Release. . . .with the
   understanding that the Seller retains any and all liability arising out of any notice, claim,
   administrative proceeding or litigation brought by any party or entity which arises out of
   the Release and the Supplemental Order; provided, however, that in connection with
   the Red Mud Release, Seller shall not be responsible for contouring or vegetation of the
   bauxite residue disposal areas, or any other work in the bauxite residue disposal areas.

This provision also had a mechanism for oversight.
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    lf and when the DPNR requires corrective action in connection w¡th the foregoing, Seller
    w¡ll complete such corrective action to DPNR's sat¡sfact¡on at Seller's expense, subject
    to the lim¡tat¡ons described above. . .The Seller reserves ¡ts r¡ght to the extent provided
    by law to challenge any actions of the DPNR that it, in its sole discretion, deems to be
    unreasonable, impractical, arbitrary, capricious, unduly burdensome, contrary to fact, or
    contrary to law. The Purchaser shall be respons¡ble for all liability associated with
    contouring or vegetation of the bauxite residue disposal areas or other work in the
    bauxite residue disposal areas. . . .The provisions of this Section 6.2(e) shall survive. . .
    (Emphasis added.)

lmmediately thereafter, on June 18,2002, DPNR issued an Administrative Order to Alcoa

regarding that spring 2002 discharge event (SOF             7) relying on and incorporating
Biolmpact's report ¡n significant part. Alcoa was ordered to do the following:

    1c. SCA shall improve, maintain and monitor the dams/berms installed           to prevent
    cont¡nued or additional red mud releases into the environment.

    1d. ln order to minimize the potential for future impacts to the environment from
    additional red mud or other unauthorized discharges, all proposed clean up items
    described in the April 20,2002, BIOIMPACT report, shall be performed by SCA.

    1f. SCA shall perform a structural evaluation, redes¡gn/expand (if required) and
    provide a report on the red mud sediment control system to insure that is lsicl has
    been enqineered with sufficient capabilitv and capacity to prevent additional red mud
    releases or other unauthorized discharqes into the environment based on the
    quant¡ties, characteristic and configuration of the red mud piles, local historical
    rainfall/runoff data and expected storm runoff at the facility. PEx 10. (Emphasis
    added)

         Thus, under the PSA, because DPNR ordered it, Alcoa was contractual/y required to

insure that there was a control system "engineered w¡th sufficient capability and capacity to

preven! addilional red mud releases or other unauthorized discharges into the environment."

Garver was asked by SCA to design such a system. PEx            13.   In June 2002, at Alcoa's

request, Garver prepared a "Bauxite Residue Disposal Area Reclamation" report conta¡n¡ng:

a Survey Control Plan, Existing Site Plan, Proposed Site Plan, Differential           Contours,

Finished Ground Elevations and Grid Volumes PEx 14. On or about Seotember 23. 2002.
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Garver provided an initial draft of its proposed plan. PEx 13. During this time Garver

submitted ordinary invoices for ordinary engineering work. See invoices, lnfra.

       ln   November 2OO2, Garver Engineers issued detailed topographic maps of the

project. PEx 15. ln November of 2002, Garver Engineers also prepared a full report titled

Bauxite Resrdue Dlsposa/ Area Reclamafion for Alcoa. The specifications covered the

following subjects: Clearing and Grubbing, Earthwork, Pipe, Erosion Control, Seeding, and

Topsoiling. PEx 16.

       ln January 2003, there was another major discharge event.

    A. Plaintiff asserts that Alcoa knew of this major discharge event--and had extensive
    equipment and manpower on the s¡te for two weeks try¡ng to avoid disclosure and
    dispose of evidence -- because Alcoa was seeking to obtain an DPNR consent
    agreement in the next two weeks that would have reduced its liability.

    B. Defendants assert only that "St. Croix Alumina is aware that DPNR has alleged that
    on or about January 9, 2003" there was such a release . PEx 17 at 9-10.

On January 22,2003, with DPNR uninformed about the discharge event, SCA obtained a

Consent Order and Stipulation of Dism¡ssal with Prejudice from DPNR. Renaissance was

not a s¡gnatory to this Consent Order, nor was informed of the discharge, the negot¡ations or

the content of the order prior to its execution. Alcoa agreed to the following actions:

       3. As soon as practicable,  SCA [Alcoa] will submit a coastal zone permit application
  based upon the   proposal  developed bv Garver Enqineers. LLC forthe redesiqn ofthe red
  mud sediment control svstem. which is desiqned to prevent or minimize future releases to
  the environment, if anv, from the red mud piles located on the facility formerly owned by
  SCA (the 'Garver proposal'), and SCA shall simultaneously subm¡t a copy of the Garver
  Proposal to DPNR-DEP, which shall use its best efforts to assist in the expeditious
  consideration of the permit application and ¡ssuance of the coastal zone permit (the
  'Permit') and SCA shall use best efforts to obtain the Permit;
      4. Within seven (7) business days of issuance of the Perm¡t, SCA shall commence
  the work in accordance with the Permit, provided however that SCA shall not be deemed
  to be in breach of this paragraph in the event of any delays attr¡butable to any actions or
  omis*sions of the St. Croix Renaissance Group, LLC, the current owner of the facility.

       6.  Except as stated herein, SCA shall have no further obligat¡ons to DPNR-DEP
  arising out of or related to the June l8 Order, which shall be and hereby is DISMISSED
  WITH PREJUDICE, and DPNR-DEP shall not initiate or pursue any additional
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    enforcement actions aga¡nst SCA including but not limited to administrative, civil or
    criminal actions related to the discharge of red mud into the environment which is the
    subject of the June 18 Order, provided, however, that nothing herein shall prevent DPNR-
    DEP from taking appropriate enforcement action with respect to any violations committed
    by SCA with respect to construction activities undertaken pursuant to the Garver
    Proposal, or in the event that SCA fails to comply with any deadlines set forth in
    paragraphs 1-2 ofthis Consent Order. PEx 18.

DPNR learned soon thereafter that there had been a s¡gnificant additional release during

January 2OO2      -- and that Alcoa and its contractors had worked without a permit or
disclosure. On February     11   , 2003, "DPNR inspected the west ditch" (PEx 19) finding that

SCA failed to inform DPNR of another discharge until after the consent order was obtained.5

        ln February 2003, Garver Engineering prepared grading topos for Alcoa containing:

an Existing Site Plan, a Grading Plan, Grading Differential Contours and Grading Grid
Volumes PEx      20. Also in February       2003, Garver prepared a Bauxite Residue Dlsposa/

Area Stormwater Collection Plan. lt contained equally technical attachments. PEx 21.

       Pursuant to requirements in the January 22, 2003 Consent Order, on March 12,

2003, Alcoa and SCRG jointly applied for an "Earth Change/Coastal Zone Permit." The so-

called 'Garver Plan' was attached       -   and submitted to DPNR. PEx    22.   The next day,

DPNR's director sent a letter to Alcoa regarding the January 9th release. PEx 23.

           On January 31, 2003 and February 11,2003, personnel from DPNR-DEP
       in*spected the site. Their observations were as follows:

        As of March 7,2003, the West Ditch was completely full of red-mud laden
       water.
        ln the past, SCA/Alcoa has assured DPNR-DEP that the containment system
       would control the flow of red mud into the ditch. lt is clear from these
       observations that the Pond is not functioning as intended. ld.

Due to that release, DPNR-DEP ordered the following actions from SCA:

           Contact DPNR-DEP upon receipt of this letter within 48 hours.
           Commence daily inspection of the temporary sed¡ment control system.

5
 As will be discussed, rnfra, DPNR subsequently determined that this order was improperly
obtained by Alcoa's failure to inform DPNR of the January 9, 2003 discharge event.
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             Submit monthly reports on the inspections or any act¡vities at the West D¡tch
           area.
             Design and provide proposed measures to DPNR-DRP to provide rapid
           repair to any breech of the temporary sediment control system.
             Create and implement a monitoring/emergency response plan for the
           temporary sediment control system. The plan should be submitted to DPNR
           within seven (7) calendar days of this letter.
             ldentify and report to DPNR-DEP the person(s) responsible for monitoring
           and maintenance of the temporary sediment control plan.
             lnvest¡gate the high pH conditions at the West Ditch area and submit a report
           on SCA,/Alcoa's findings within 30 days of this letter.
             Develop and implement a plan to eliminate the discharqe of hiqh pH liquids
           into the waters of the Virqin lslands as per USVI regulations with thirtv davs of
           this letter.
             Contact DPNR-DEP prior to any investigator/repair work at the West Ditch
           area.
            Any discharge in violation of Virgin lslands Water Pollution Law must be
           reported immediately to DPNR-DEP. ld. at 2-3 (Emphasis added).

So now the DPNR's order was to "[d]evelop and implement a plan to eliminate the discharge

of high pH liquids into the waters of the Virgin lslands." Despite this order and the PSA
provisions making that order part of Alcoa's contractual duties, on March 19th, Alcoa's

counsel sent a letter to SCRG, requesting indemnification for the January 9, 2003 discharge

of red mud. PEx 24. On the same day, March 19, 2003, Alcoa's counsel sent the letter to

SCRG, she also sent a letter to the DPNR director denying any responsibility for the

January 9, 2003 discharge event. PEx 25.

           ln April there was yet another significant discharge event. After that occurred, on

April 29, 2003, the DPNR issued an administrative order to Alcoa and SCRG under Title 12

V.l.C. Section 188(d) of the Water Pollution Control Act. Alcoa then asked Garver to

develop an updated        plan. ln June 2003, Garver     Engineers prepared a Bauxite Residue

Area Stormwater Collection PIan for Alcoa. PEx 26. Through all times ment¡oned above,

Garver sent invoices which reflected nothing more than the ordinary engineering plann¡ng,

meetings and the development work described. For example, on October 7, 2003, Garver
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Engineers sent one of many routine invoices to Alcoa for professional services plans during

the time period from August 16-September 12, 2003 in the amount of $5,019.07. PEx27.

       C. Garuer as the Ceñifying Entity to CZM and DPNR

       On September 11,2003, Eric Black and Garver's Marvin Dalla Rosa testified before

the Coastal Zone Management Commission regarding how the technical details of the
"Garver Plan" would form the basis of CZM permit CZX-15-03(L). Soon thereafter, on

October 27,2003, Alcoa's Larry Grace sent an email to SCRG's Jack Thomas responding to

Thomas' October 25th questions about Alcoa's position on Garver's role with regard to

becoming the certifying entity for compliance -- what Grace referred to as the "referee".

       Jack Thomas: We ask you to reconsider the use of Justin Blakely as the
       oversight and acceptance engineer for the project. I understand that Amy
       Dempsey holds Justin in high regard. . . . PEx 28.

       Larry Grace: Based on the pre-existence of a professional relationship
       between Antilles Engineering and SCRG, SCA is not agreeable to engaging
       Antilles as a referee to confirm completion of the project. Alternatively, we
       propose that: a) Upon completion, Garver certifies to the agency that the work
       has been completed. . . .PEx 29. (Emphasis added)

Although SCRG objected to Garver assuming this new 'referee' role, Alcoa pressed the

point and DPNR agreed to allow Garver to act as both the oversight and certifying entity.

On October 30, 2003 a hearing was held by the CZM regarding the permit application. PEx

30.   During the hearing Alcoa's counsel, Simon Francis, Esq., represented the following

about Garver's role to the Commission:

      MS. FRANCIS: Can we just also add for the Committee's benefit what SCA had
      intended to do as part, of this work. the engineers who done the design, Garver
      Engineers, they will be on site periodically during this process, and prepared to
      certify at the completion of the process, which is our understanding to be the
      requirements of the act that the work was done in accordance with those
      specifications, and to do that. within a time certain after the work is complete, And
      we would propose that serve as certification to the Committee that the work has
      completed in accordance with the requirements of the permit. ld. at 8.

She emphasized that only Garver should be the engineers to certify the completion.
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      MS. FRANCIS: . . . we would propose that ¡n terms of the conditions of the
      permit that certa¡nly what has been discussed should be the formal cond¡tion,
      which is that the engineers who designed this work w¡ll cert¡fy to Director Williams
      that - I'm sorry, Mr. Williams, soon to Director W¡lliams, that. it has been done in
      accordance with the plans and certifications . . . ld. at 10.

As a result, on November sth, the Perm¡t was granted, containing the provision for Garver's

certification. PEx 31. On November 7,2003, Alcoa issued a purchase orderto Garver for:

      professional engineering consultants on periodic basis to evaluate the construction
      work related to the storm water project approved drawings and             technical
      specifications. The consultant will inspect the construction work in a time frame
      and manner which will produce a document at the conclusion to the work cert¡fying
      that the project construction complies with specifications and technical aspects
      related to the work. Consultant will provide any findings made during the course of
      each site visit to ensure compl¡ance with specifications. PEx 32.

Garver supervised the onsite monitor and prov¡ded him with notebooks in which he would

keep a daily diary necessary for certification. lt contained a great deal of detail:

     We provided Eric with a notebook conta¡ning section d¡v¡ders for each pay item
     and an example of how each is calculated and sections for field testing, a field
     book to use as a daily diary documenting the work, and a 3-112" diskette with a
     weekly report form. We discussed that Eric would need to keep track of all
     quantities as outlined in the notebook. This documentation in the project notebook
     will be important for tracking progress and contractor payment. PEx 33.

The instructions also dealt with his recording of materials testing and submittal lists:

     We also discussed the procedures for documenting materials testing and how they
     should be kept in the project notebook. Examples of testing results/forms were
     provided to Eric as well as forms for documenting tests. We will need proctors on
     each d¡fferent material used and at an interval of 1,000 cubic yards for each
     material. We also discussed that tests must be numbered in such a way to match
     them up with the result forms from the lab and how to document failed tests.
     Before the site visit we ma¡led Eric a submittal list and we discussed the list. what
     we expected from the contractor, and that cop¡es of the reviewed submittals
     should be kept in the project notebook. ld.

And it was clear that the photos, progress reports, weather conditions, items of work and

other reportage would be "necessary for [Garver] to satisfactorily certify the project".

     We also discussed the weekly progress reports. Eric was asked to prov¡de us w¡th
     a completed weekly report form via e-mail with copies of his daily diary for the
     week attached and any photos take of construction. We informed Eric that his
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     diary should include such things as weather conditions, items of work, problems or
     changes associated with the work, and any other notes that were relevant to
     construction. We expressed the need that complete documentation in the project
     notebook, daily diary, and weekly reports will be necessary for us to satisfactor¡ly
     certify the project. Id.

At no time pr¡or to, during or after the hearing, or in setting up the oversight and
certification documentation, did Garver inform DPNR, CZM, or SCRG that it was

allegedly   a secret litigation consultant, that Garver was covertly part of               Alcoa

litigation team, or that Garver would allegedly be wearing two hats and thus making

all certification analyses and decisions under claims of privilege based on some
agency theory. Nor did Alcoa or its counsel disclose this alleged agency or attorney

client relationship.

       The described notebooks are one of the points of contention in this action. One

document, nothing even close to what was described, has been produced                 -- and,   as

discussed in more detail below, DPNR has alleged that the certification is "invalid" and

possibly "perjurious". Although it strains credibility, as the record stands now, at the very

least, there appears to have been little support¡ng, truly detailed data from the field.

       On March 9,2004, Eric Black sent an internal email to Alcoa engineers Dave Ritchey

and Bob Horger reflecting that Alcoa's relationship with Garver was now one of a certifying

entity reviewing compliance:

     As you are both probably aware, the proposal for SCA constructing a containment
     berm on the residue area has been taken off the table by SCA. Nonetheless, as
     you are no doubt also aware, the current design of the project has several holes
     as well as complications due to design and residue factors. . . .

     Finally, at this point I am not sure that we have a true handle on project cost. ln
     any case, it might be a good idea to get Dick (or whomever can help put) to return
     to St. Croix in the very near term to help resolve some of these design concepts.
     Upon resolution I would then ask that he help run these desiqns bv Garver (whom
     we apparentlv will still need to certifv the proiect on completion). Alternatively, I
     could have Garver make one of their required tr¡ps to the project while Dick was
     still onsite so that he could walk them through the changes or simply use Garver
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     for the work. I don't feel however that using Garver for the desiqn aspects would
     result in cost effective or timelv solutions. PEx 34. (Emphasis added).

       On April 7,2004, Eric Black sent an email regarding Garver's response to SCA's

proposed changes to the engineering work in which he discussed removing Garver as

Garver felt the proposed work would "not be suff¡cient to withstand the runoff."

     I have just received a response from Garver Engineering regarding my inquiries
     about the review of additional SCA engineering work and the incorporation of this
     work into prelim¡nary drawings for possible CZM review.

     At this point, Garver is uncomfortable with the proposed work. Startinq with the
     proposed slope berm, it is their current opinion that such a berm would not be
     sufficient to withstand the runoff cominq across the west residue area. Although I
     explained that the contours they are working from are apparently inaccurate and
     the runoff actually flows toward the middle of the area, they are unconvinced and
     have requested that the entire area be surveyed and revised contours made.
     Because they believe that water would move over the proposed berm, they cannot
     revise the west access road ditch design or evaluate the proposed catchment.
     Additionally, they also indicated that although they could process this work after
     receiving the revised contours and calculating runoff and other eng¡neer¡ng
     parameters, the current contract that we have in place would possibly be
     exceeded.

     lf we determine that we will proceed with additional surveying and rely on Garver
     to work up this data, the time frame for drawings will be moved back at least
     several weeks. Positives would be that Garver would continue in its role of
     certifying the project at completion.

     lf we determine to remove Garver from the process. we could proceed much
     more quicklv (assuminq RFA fund¡nq approval ¡s rece¡ved) but would lose the
     Garver certification of the proiect at its conclusion.

     ln either case, it seems to me that Garver realizes that thev essentiallv have us
     over a barrel on this. Should we continue to use them we will need to insure
     that we minimize their desiqn and enqineerins role to a minimum, providing to
     them justified and fully eng¡neered changes that they will find difficult to question. I
     think we have done this reasonably well already but the question of current
     contours has triggered their response. PEx 35. (Emphasis added).

      This hardly sounds like a confidential attorney-cl¡ent relationship with "litigation team"

members. Rather, it sounds like what it was     -   Garver was clearly understood by Alcoa

as primarily reporting to the regulator, DPNR, and hostíle to such requests by Alcoa.
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       There is additional ev¡dence of the non-pr¡vileged relationship at this time. Alcoa and

Garver again formalized the arrangement by contract in February of 2005, executing

another in a series of "Engineering Service Contractls]". ln Section l. the contract recited,

      SECTION I. STATEMENT OF WORK
      Seller shall furnish professional engineering services, provide supervision, labor,
      materials, tools, equipment, and other things necessary to conduct civil surveys
      and evaluate construction services performed by third parties on behalf of the
      Company related to the storm water project at the St. Croix Renaissance Group
      property located in St. Croix, US Vl. (the "Work").

     Seller shall provide a written report certifying that the project construction complies
     with approved drawings and technical specifications. PEx 36.

Section Vll recites that, "[t]he Contract, together w¡th the attachments hereto, constitutes the

entire agreement between Seller and Company.                 .   ." (Emphasis added). ld.   That

contract was also executed by Marvin Dalla Rosa for Garver.

       Garver eventually did certify the project as complete     -   although DPNR maintains that

this was a false certification   -   and as the letter quoted above reflects, may have been done

under pressure of removal or reduced work from Alcoa. However, at the same time Alcoa

was pressing Garver to certify, Alcoa's internal senior engineer described the project as a

shambles and poorly executed         -   and the plan's design as "flawed". On February 22,2004,

Alcoa Engineer Dave Ritchey sent the results of his internal Alcoa audit. Ritchey stated:

     lssues That Must be Addressed
     As you are aware I visited St Croix this past week accompanied by Bob Horger of
     the Alcoa environmental group and a spec¡al¡st on underground services and
     hydrology studies of rain water, run off issues, etc. and Dr. R. Van Tassel, a retired
     Alcoa, geotech expert with long experience of working with bauxite residue. Our
     charge was to determine if the current request for a revised RFA should be
     approved and what could be recommended to get the continuing escalating costs
     gf_tjris prøect under control. The following is our report of that project audit.

        . Garvers oriqinal desiqn to slope the residue pile without providing for run-off
       '1

     control is the root cause of the current erosion condition. The result of unchecked
     erosion can be seen in the West gully over the sanitary sewer.
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        2. SCRG has not and may never re-slope the unchecked slopes and place
     vegetat¡on on them. We have no control over SCRG in this regard and the St.
     Croix government also has had no success with pressuring them.
        3. The oriqinal Garver design allows for all rain run off on the top of the entire
     residue area to flow down the side slopes in the South West corner. This desiqn is
     flawed. Even some areas with vegetation has eroded. The periphery around the
     top of the residue area must be diked to keep water from coming down the slopes.
     ïhese dikes could be built from the residue 2'-0 to 3'-0 high and 8'-0 across with
     some soils added to the dikes top surface to act as a binder. PEx 37. (Emphasis.)

       Though Alcoa denied externally what its own senior engineer was saying internally

(blaming Garver) on August 10, 2006, DPNR sent a letter to Alcoa, responding to Alcoa's

contention that the work at the red mud pile, pursuant to the CZM permit, was complete. lt

summarizes the same failures and evasions by Alcoa that were documented by its own

internal senior engineers -- and added that Garver's certification might well be perjurious:

    the certification provided by Garver that the work complied with the specifications
    and plans was executed by Garver with a conscious understanding that the final
    work was inconsistent with the plans and spec¡fications. Accordinqlv, the
    certification is invalid. possiblv subiectinq the certifvinq individual to charqes of
    periury. PEx 38. (Emphasis added).

SCA failed to comply with its obligations, and the permit application was also misleading:

    With regard to the Agreed Order, SCA has failed to comply with its obligations.
    Specifically, SCA obtained its CZM permit based upon certain information it
    provided in its permitted drawings. According to General Condition 6(e) of SCA's
    CZM permit. .As you know, Garver Engineers' ('Garver's') as-built survey is
    inconsistent with the permitted drawings SCA submitted w¡th its application. After
    reviewinq Garver's Mav 18. 2006 letter to Eric Black. it is apparent that much of the
    factual information upon which the permit application was premised was hiqhlv
    inaccurate (and perhaps false). Apparently, Garver's review of the site in advance of
    submitting SCA's application was woefully inadequate, resulting in Garver not
    knowing the actual conditions in the field until Garver was attempting to implement
    its plan.(5) ld. (Emphasis added)

DPNR advised Alcoa, via letter, dated March 17, that the 'Division of CZM has determined

that [SCA] had nof complied with the Garver PIan.'

    Even as these inaccuracies were discovered, however, neither this Department nor
    the St. Croix Committee of the Virgin lslands CZM Commission was advised of
    these inaccuracies. lnstead, SCA in coniunction with Garver acted without anv
    reqard for the law and proceeded to modifu the plan without anv consent from
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    DPNR or the Committee. Because of the inaccuracies presented in SCA's permit
    application as compared to the as-built survev. I advised you via letter. dated March
    17, that the 'Division of CZM has determined that [SCA] has nof complied with the
    Garver Plan.' (bold emphasis in original). Explanations provided after the fact do not
    put SCA into compliance with its CZM permit or the Plan. . . . ld. (Emphasis added).

Furthermore, the certification was invalid:

        Also, based upon all of these inconsistencies between the as-built survey and
    the permitted drawings, it appears that the 'certification of compliance provided bv
    lGarverl that the plans and specifìcations of the proiect and all applicable Virqin
    lslands Code requirements have been met,'as required bv General Condition 6(q)
    of SCA's CZM permit. is invalid. ld. (Emphasis added).

Garver knew that its assertion of compliance was wrong:

    Clearly, SCA and Garver made a conscious decision to stray from the permit
    requirements and plan. SCA and Garver continue to be under the misconception
    that SCA was not required to 'contain the bauxite residue but [only] to divert
    sediment-laden storm water from the bauxite residue stockpile....(6) lnherent in the
    terms of the Agreed Order was an understanding that the proposed system would
    be effective at preventing or minimizing future releases to the env¡ronment. DPNR
    always anticipated that SCA's agreed work pursuant to the Agreed Order would
    serve this purpose. The language of the Agreed Order couldn't be clearer in this
    regard. To the extent SCA misunderstood its obligations and thought it could meet
    its obligations under the Agreed Order by constructing an ineffective system that
    depends upon additional work by St. Croix Renaissance Group ("SCRG), SCA did
    so at its own peril. . . .SCA's continued reliance on SCRG's failure to vegetate the
    red mud p¡les as the basis for the Garver system not preventing red mud releases
    to the environment is misplaced. ld.

Finally, DPNR found that Alcoa's and Garver's contention that Alcoa had complied with the

Administrative Order indicated a "complete lack of credibility" and was "laughable":

    THE APRIL 29. 2OO3 ADMINISTRATIVE ORDER
        DPNR finds your assertion that SCA has now complied with the April Order to be
    Iaughable. This assertion indicates a complete lack of credibility on the part of SCA.
    To the extent SCA and Alcoa always believed that SCA's obligations under the April
    Order could be met by simply completing the Garver plan, which it had already
    agreed to complete pursuant to the Agreed Order, why d¡d SCA and Alcoa spend
    substantial sums for their counsel to prepare extensive briefs opposing DPNR's
    authority to issue the April Order? Obviously, SCA and Alcoa recognized that the
    April Order contained substantially more specific requirements than those set forth
    in the Agreed Order and understood that the burden of implementing those specific
    requirements would be substantially greater and more costly.
        At this time, SCA and Alcoa have been out of compliance with the April Order for
    over three years. The administrative penalties for such non-compliance are
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    substantial. As you acknowledge implicitly through your reference to the April Order
    in your June 28 letter, SCA and Alcoa continue to have an obligation to comply with
    the April Order. ld.

With this history in mind, it is appropriate to apply the applicable law to these facts.

lV. Argument

       It is axiomatic that when a party voluntarily includes a third party in a communication,

or discloses a communication to a third party, any claim of attorney-client privilege for that

communication is waived.

     A communication is only privileged if it is made "in confidence." RestRteue¡rt
     (Tntno) Or THE LAW GovERNTNG LAWvERS $ 68. ln other words, if persons other
     than the client, its attorney, or their agents are present, the communication is not
     made in confidence, and the priv¡lege does not attach. The disclosure rule
     operates as a corollary to this principle: if a client subsequently shares a privileged
     communication with a third party, then it is no longer conf¡dential, and the privilege
     ceases to protect it. See DEL. R: EVID. 510. This is because the act of disclosing
     signals that the client does not intend to keep the communication secret. RICE $
     9:28. ln addition, it prevents clients from engaging in strategic selective disclosure.
     United States v. Bernard, 877 F.2d 1463, 1465 (10th Cir. 1989). The privilege
     does, after all, hinder the truth-seeking process, and so we carefully police its use.
     United States v. Doe,429 F.3d 450, 453 (3d Cir. 2005).
       Disclosing a communication to a third party unquestionably waives the privilege.

Teleglobe Communs. Corp. v. BCE, lnc. (ln re Teleglobe Communs. Corp-),493 F.3d 345,

361 (3d Cir.2007); see a/so Addie v. Kjaer,2008 U.S. Dist. LEXIS 107548, 7-8 (D.V.l. 2008)

where the court held:

     The attorney-client privilege is also waived when a client voluntarily discloses
     privileged communications to a third party. Westinghouse Electric Corporation v.
     Republic of the Philippines, 951 F.2d 1414, 1424 (3d Cir. 1991)(citing United
     States v. Rockwell lnternational, 897 F.2d 1255, 1265 (3d Cir. 1990)).
     Restatement of Law, Third, The Law Governing Lawyers, S 79 (2000). The
     voluntarv disclosure bv a client of a privileqed communication waives the privileqe
     as to other such communications relatinq to the same subiect matter made both
     prior to and after the occurrence of the waiver. (Emphasis added.)
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       This rule is also true for the work product privilege6. See e.g. tn re Grand Jury

(lmpounded), 138 F.3d 978, 981 (3d Cir. 1998)("a party may waive the attorney work

product privilege by disclosing protected documents in certain circumstances.")

       ln summary, to the extent a privilege may have otherwise existed, when documents

were sent to Garver (or when sent by Garver), any privilege was waived. Garver testified

that: ('l) it had never been hired as part of a litigation team, (2) it never understood there to

be any express¡on of an expectation of confidentiality (other than an unexplained legend on

some copied correspondence that Garver never understood), (3) there was nothing written

into any contract, nor was there any contract that expressed such a special relationship or

expectation. As it progressed, the relationship was functional, then became supervisory,

and was finally combative, as Alcoa wanted to get rid of them as the certifying entity, but

was "over a barrel". Moreover, no alleged attorney client relationship was ever disclosed to

DPNR or SCRG in discussing Garver's ability to be the impartial referee. lndeed, such a

covert "privilege" would not only have been inconsistent with what Alcoa testified to obtain

that position for Garver--but would also be contrary to DPNR's absolute right to see all

communications suppoñing the ce¡fification ln short, Alcoa has no factual basis to assert a

privilege over communications between its counsel and Garver in this case.




6 The
      application of the work product privilege to agents has been acknowledged.
   The work-product doctrine, first recognized by the Supreme Court in Hickman v.
   ïaylor,329 U.S.495,67 S.Ct.385,91 L. Ed.451 (1947), "shelters the mental
   processes of the attorney, providing a privileged area within which he can analyze
   and prepare his client's case." . . . . "This protection also can extend to materials
   prepared by an attorney's agent, if that agent acts at the attorney's direction in
   creating such documents." ld. (citing Nobles, 422U.5. at 238-39, 95 S.Ct. a12170).
Times of Trenton Publ'g Corp. v. Pub. Util. Serv. Corp.,2005 U.S. Dist. LEXIS 34624,10-11
(D.N.J. May 3, 2005).
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Dated: June 19,2008

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                                 CERTIFICATE OF SERVICE

         I hereby certify that on this 19th day of June, 2009, I electronically f¡led the foregoing
with the Clerk of the Court using the CM/ECF system, which will send a notification of such
filing (NEF) to the following:


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